                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
v.                                           ) Case No. 18-00293-CR-W-DGK
                                             )
GERALD L. GINNINGS, et al.,                  )
                                             )
                        Defendants.          )

                                             ORDER

       It is hereby

       ORDERED that any CJA counsel who has not already done so and believes their attorney

fees will exceed the statutory cap shall file a proposed budget with the Court through an ex parte

motion on or before January 8, 2021. It is further

       ORDERED that counsel submitting proposed budgets are directed to use Attorney

Budgeting Forms CJA 28A and B.



Date: December 9, 2020


                                                               /s/ Jill A. Morris .
                                                              JILL A. MORRIS
                                                     UNITED STATES MAGISTRATE JUDGE




         Case 4:18-cr-00293-DGK Document 379 Filed 12/09/20 Page 1 of 1
